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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


VLSI TECHNOLOGY LLC,                                §
           Plaintiff,                               §
                                                    §                  W:21-CV-00057-ADA
                                                    §
v.                                                  §
                                                    §
INTEL CORPORATION,                                  §
          Defendant.                                §
                                                    §
                                                    §

                       AMENDED NOTICE OF TRIAL PROCEDURES

         In anticipation of trial on February 16, 2021, the Court notifies the parties of the following

trial procedures, which the Court employs to maximize safety and social distancing during trial:

     •   Trial will commence at 9:00 a.m. in the United States District Court, 800 Franklin, Waco,
         Texas 76701. Public parking is available.

     •   The United States Courthouse in Waco is large enough to permit the jury venire panel to
         remain at least six feet apart at all times.

     •   In its jury summons, the Court informed prospective jurors that (1) jury selection will be
         conducted in the district courtroom, which is large enough to accommodate this jury panel
         with recommended social distancing; (2) they should bring a face covering; (3) if selected,
         jurors will be distanced more than six feet apart at all times; (4) all rooms will be cleaned
         and disinfected before their arrival, and hand sanitizer will be available; (5) bathroom
         breaks will be lengthened to ensure physical distancing; and (6) no one should report for
         duty if they feel ill, have any flu-like symptoms, are experiencing shortness of breath, have
         a fever, are coughing or sneezing, have been asked to self-quarantine by any hospital or
         health agency, or have had close contact with anyone who has been diagnosed with
         COVID-19. Jurors have also completed and returned a form addressing their ability to
         participate, which included questions regarding COVID-19. The Court has excused jurors
         who sought to be excused based on COVID-19-related concerns.

     •   Before entering the building, panel members will be instructed to wear a face covering.
         The Court expects to take panel members' temperatures, and anyone with a fever will be
         excused from service. The Court will provide gloves for those who would like them, along
         with hand sanitizer.

     •   Before voir dire begins, the Court will give each panel member a clear face shield and will
         instruct the jurors to wear the shields and N-95 masks throughout voir dire. When
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    answering questions, jurors may remove their masks, but not their face shields, if the
    attorneys would like to see the jurors' faces.

•   The Court will provide the parties an opportunity to do a general and individual voir dire
    at the Court’s discretion. The Court will provide the parties with a diagram of the room
    that identifies the jurors and their seat assignments.

•   If necessary, the Court, counsel, and the court reporter may step out of the room to conduct
    any bench conferences and resolve any motions to strike.

•   After seven jurors are selected, the Court will dismiss the remaining panel members from
    service in this case.

•   To eliminate the need to leave the building to eat lunch, the Court will enter a jury-
    sequestration order and will provide the jurors' lunch. The jurors will be able to maintain
    social distancing during 1unch.

•   During trial, the jurors will sit in the jury box at least six feet from one another. Jurors will
    have the option of wearing face shields or N-95 face masks. The parties will sit facing the
    gallery and will wear masks or shields while not speaking. Witnesses will testify from the
    witness stand and will not wear masks, but the witness will be separated from others in the
    courtroom by a plexiglass barrier. If necessary, bench conferences may be moved to
    chambers.

•   Throughout the trial, the Court will keep the courtroom doors open to maximize ventilation.

•   The Court will provide a large air purifier to promote healthy air flow within the courtroom.

•   Although seating will remain available to the public in the courtroom, an audio feed will
    be available in an overflow room. Court security officers will notify any observers of this
    option. Additionally, if a member of the public would like to listen to the trial but cannot
    attend in person, the Court can provide remote access.

•   The parties have further agreed to abide by the COVID-19 Protocol below:




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                               COVID -19 SAFETY PROTOCOL

        In order to provide a safe environment for all parties and other trial participants,

the Court has approved the following COVID-19 safety protocol proposed by the parties.

        1.      Safety Procedures Applicable to Party Participants (Parties, Counsel,

Support Staff, and Party-Affiliated Witnesses) Who Enter the Courthouse

        All party-affiliated trial participants (both from in-state and out-of-state, including

attorneys, staff, witnesses, and party representatives) shall be expected to adhere to CDC

guidelines. For party-affiliated trial participants:

                (A) COVID-19 Testing

                        a. Pre-Trial PCR Testing

        Unless cleared by a licensed physician or as excused by the Court, all party-

affiliated trial participants (both from in-state and out-of-state, including attorneys, staff,

party witnesses, and party representatives) shall be PCR tested for COVID-19 within five

(5) days prior to their first appearance at the Courthouse (including, without limitation,

appearance at voir dire or other proceedings) and with confirmed negative results prior to

entering the Courthouse.

                        b. Daily Testing

        In addition to the PCR testing discussed above, there will be mandatory COVID-

19 testing each trial day by rapid antigen or PCR testing for all party-affiliated trial

participants who enter the Courthouse, except those cleared by a licensed physician in

(1)(A)(a) or as excused by the Court. Each party-affiliated trial participant must receive a

confirmed negative result from such test prior to entering the Courthouse. Testing for

party-affiliated trial participants may be conducted either that morning prior to trial or the

day prior to entering the Courthouse. The parties may arrange for such testing to take place
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 at a designated area around the Courthouse or may arrange for their own testing (e.g., at

 their hotel space).

                         c. Notification

        In the event that any party-affiliated trial participant (from in state or out of state,

including attorneys, staff, witnesses, and party representatives) receives a positive COVID-19

test result after traveling to Texas or after meeting in person with any participant in the trial, the

party with whom that individual is affiliated will notify the Court and the other party

immediately that an individual affiliated with that party has received a positive test. The party

may but need not disclose the identity of the affected individual but will in good faith cooperate

with the other party to provide information sufficient to identify whether and to what extent

others have been in contact with the affected individual, including, at least, whether the affected

individual previously was in the Courthouse or was in a shared hotel or preparation space with

any other of the party’s trial participants.

                 (B) Use of PPE by Party Participants

         All party-affiliated trial participants are encouraged to use an N95 mask or a

 generally equivalent mask to be worn at all times in all shared spaces except by (1) the

 questioning and/or presenting attorney during his/her questioning, opening statements, and

 closing arguments, while maintaining an at least 10-foot distance from all other persons;

 (2) a witness while testifying in the witness box surrounded by plexi-glass or other similar

 protective barrier. Such persons are encouraged to wear face shields while they are not

 wearing masks, and that the parties provide a suitable microphone and amplification

 system for those individuals.

         A mask is not required while a trial participant is eating or drinking, provided that



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    he or she does so in a responsible manner and keeps at least a 6-foot distance from all other

    persons.

                    (C) Social Distancing by Party Participants

            All party-affiliated trial participants shall endeavor to adhere to social distancing

    requirements, including keeping an at least 6-feet of distance from other trial participants

    and limiting Courthouse elevator occupancy to a maximum of two (2) riders at a time.

            2.      Safety Procedures for the Jury and Other Non-Party Trial Participants

                    (A) Rapid COVID-19 Testing Available Free of Charge to Jurors and

                        Court Personnel

                             a. Testing Procedure

            COVID-19 rapid antigen testing will be made available for jurors, the Court and its

    staff, and any non-party witnesses each morning of trial prior to the start of the trial day as

    practicable. 1 COVID-19 testing will take place at a location within walking distance of the

    Courthouse, and would be administered by one or more registered nurse(s) unaffiliated with

    either party.

            Testing is expected to take approximately five (5) minutes per tested individual,

    with results available approximately 15 minutes after testing.

            Individuals are not allowed to enter the Courthouse until a negative test result has

    been received by any individual who has opted to be tested. Any individual who receives a

    positive result may opt to be re-tested to help rule out a false positive.




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  This testing would also be available each morning to party affiliated trial participants. Expenses associated with rapid
testing and other safety procedures for the jury and non-party trial participants shall be shared equally by both parties.

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                         b. Notification

       In the event that any juror or non-party witness receives a positive COVID-19 test, this

fact (without disclosing the identity of the individual) will be communicated by the registered

nurse(s) to a designated contact or contacts for each party. The parties will jointly notify the

Court immediately thereafter and the parties and Court will convene a conference to discuss

appropriate next steps. Intel proposes that in the event that the Court or a member of its staff

receives a positive COVID-19 test, this fact (without disclosing the identity of the individual)

will be communicated to a designated contact for the Court and the parties and Court will

convene a conference to discuss appropriate next steps.

                  (B) Distribution and Use of Personal Protective Equipment (PPE)

        A variety of PPE be made available free of charge to all jurors and Court personnel,

 including:

              •   N95 or generally equivalent masks;

              •   ASTM-rated surgical masks;

              •   Face shields;

              •   Disposable gloves; and

              •   Personal hand sanitizer bottles, of at least 60% alcohol by volume.

        All jurors and non-party trial participants are required to use an N95 or generally

 equivalent mask at all times in all shared spaces except (a) as permitted by the Court, and

 (b) a mask is not required while an individual is eating or drinking, or, while deliberating,

 provided that he or she does so in a responsible manner and keeps at least a 6-foot distance

 from all other persons.




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                 (C) Pre-Entry Health Assessments

                         a. Temperature Checks

       Consistent with existing protocols, the Courthouse personnel will perform a

temperature check on all individuals entering the Courthouse through no-contact thermal

imaging. Any person exhibiting a temperature greater than 100.4o will not allowed in the

building.

                         b. COVID-19 Safety Questionnaire

       Self-assessment health signage is already posted conspicuously around the

Courthouse. Such signs direct any person who fails the self-assessment not to enter the

building.

       In addition to the self-assessment health signage around the Courthouse building,

jurors and non-party trial participants are required to (i) complete a written COVID- 19

self-assessment form on the first day they enter the Courthouse, which form would be

submitted in confidence to the Court’s personnel, and also (ii) promptly inform the Court

of any material changes in the self-assessment before they return to the Courthouse on any

subsequent day in connection with the trial. The assessment would include the following

questions:

             •   In the last three weeks, have you been diagnosed with COVID-19?

             •   Are you currently experiencing new or worsening signs of any of the

                 following symptoms not otherwise attributable to a condition other than

                 COVID-19 (such as pregnancy, dehydration, rigorous exercise, etc.):

                 difficulty breathing or shortness of breath; loss of the sense of taste or smell;

                 gastrointestinal discomfort including vomiting or diarrhea; fever; cough;



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                 fatigue; headache; or muscle or body aches; or runny nose?

             •   In the last two weeks, have you been in close contact with someone who

                 was diagnosed with COVID-19 or whom you believe likely has COVID-

                 19? You have been in close contact if you have (a) been within 6 feet of

                 someone who has COVID-19 for a combined total of 15 minutes or more

                 over a 24-hour period or (b) provided care at home to someone who is sick

                 with COVID-19 or (c) had direct physical contact (e.g., hugged or kissed)

                 with someone who has COVID-19 or (d) shared eating or drinking utensils

                 with someone who has COVID-19 or (e) been sneezed on or coughed on

                 by someone who has COVID-19.

                 (D) Social Distancing

         All jurors and non-party trial participants be instructed to adhere to social

distancing requirements, including keeping an at least 6-feet of distance from other trial

participants and limiting Courthouse elevator occupancy to a maximum of 2 riders at a

time.

        3.       Additional Proposed Safety Procedures

                 (A) Procedures For Jury Assembly Room and Jury Deliberation Room

         Additional precautions are to be taken in rooms used by the jury during assembly,

breaks, and deliberations, on days when such rooms are occupied:

             •   Use of portable HEPA air filtration systems to be supplied by the parties

                 with a collective filtration rate in the range of 300-800 ft3/min;

             •   Availability of hand sanitizer containing at least 60% alcohol by volume; and

             •   Daily surface cleanings with appropriate disinfectants with activity against


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                   COVID-19. 2

                   (B) Procedures In the Courtroom

          Additional precautions are to be taken in the Courtroom each day of trial:

              •    Use of two portable HEPA air filtration systems to be supplied by the

                   parties with a collective filtration rate in the range of 300-800 ft3/min;

              •    Use of plexi-glass or other similar protective barrier around the witness

                   stand, as already erected by the Court and used in prior trials;

              •    Appropriate distancing between counsel’s tables, the lectern, the jury box,

                   and the Court;

              •    Availability of hand sanitizer containing at least 60% alcohol by volume;

              •    Disinfectant cleaning of the witness box and witness microphone at the

                   conclusion of each witness’s testimony performed by party-affiliated staff

                   with appropriate disinfectants with activity against COVID-19;

              •    Daily surface cleanings; and

              •    Limit on the number of individuals inside the Courtroom at any particular

                   time as follows:

                       o Maximum of 6 party-affiliated trial participants per party including

                            corporate representatives and technical personnel, but not

                            including any witness presently testifying; and

                       o Maximum of 7 jurors during trial after jury selection, and a

                            maximum of 20 potential jurors or jurors during voir dire and


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  The Courthouse employs a highly trained cleaning staff that will clean and disinfect each of the rooms and areas
identified above on a daily basis. The parties are prepared to work together to procure additional cleaning staff and
supplies if requested by the Court.


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                          instructions.

                 (C) Overflow Room

        One overflow room in the Courthouse will be arranged with a live video feed of the

 Courtroom. An overflow room would allow for individuals in excess of those permitted in

 the Courtroom to watch the Courtroom proceedings while maintaining social distancing

 requirements.

        Additional precautions are to be taken in the overflow room on days when such

 room is occupied:

            •    Use of portable HEPA air filtration systems supplied by the parties with a

                 collective filtration rate in the range of 300-800 ft3/min;

            •    Availability of hand sanitizer containing at least 60% alcohol by volume;

            •    Daily surface cleanings; and

            •    Limit on the number of individuals inside the overflow room at any

                 particular time as follows:

                       o Maximum of 30 persons total; and

                       o Maximum of 5 party-affiliated trial participants per party. Other party-

                          affiliated trial participants will be provided a Zoom link so they can

                          observe the trial virtually (discussed below).

                 (D)     Live Feed

       In order to minimize the number of party-affiliated individuals that will be in the

Courthouse on any given day and to accommodate any witness that will testify remotely by

video but would otherwise be permitted to observe trial, a live video feed of the trial proceedings




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will be arranged. The parties will work with the Court IT staff to arrange such a stream using the

Court’s Zoom platform, and individuals or groups of individuals that access the stream will be

required to login using a designated link. This live feed may be accessed by the following party-

affiliated individuals outside of the Courthouse:

   •   The parties’ outside counsel, staff, and consultants;

   •   Party in-house counsel disclosed under the Protective Order;

   •   Witnesses on either party’s witness list to the extent permitted under the Protective Order

       and Pre-trial Order. A fact witness (other than a designated corporate representative) may

       not observe the testimony of other witnesses until after that witness has completed his/her

       testimony and been excused by the Court. Expert witnesses and corporate representatives

       may observe the testimony of other witnesses before they testify—although corporate

       representatives may be precluded from observing certain sealed testimony because of

       confidentiality reasons.

   The public is permitted to listen to the trial proceedings by telephone. The number to access

both voir dire and trial proceedings is 1-(669)-254-5252, Meeting ID 161 606 4451, Passcode

186276. Recording of the proceedings in any way is not permitted.

   Virtual trial participants and observers should silence electronic devices other than the

devices necessary to their remote participation, close unnecessary computer programs or

applications (such as email or calendar notifications), and take steps to remove or minimize

anything in their remote workspace that might distract from the integrity of the proceedings.

Participants and observers who will not be testifying or presenting matters during the

proceedings shall mute their microphones and deactivate their cameras. Participants and

observers using multiple devices in a single workspace to access the trial should avoid audio


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feedback issues by using the microphone and speakers on only one device at a time, or by using

headphones.

     The Court asks all remote participants to do their best to maintain professionalism in order

to conduct a fair and efficient trial. Anyone appearing virtually shall dress in the same manner as

they would if they physically appeared in the courtroom. If party members, member of the press,

or members of the public become disruptive, the Court may further restrict who is able to view

the trial. Remote trial participants and observers should conduct themselves in the same way they

would if they were physically present in the courtroom.

    4.           Bench Conferences

          There will not be bench conferences in the presence of the jury during trial.

     5.          Exhibits

          The use of electronic exhibits for any exhibit displayed and/or given to the jury

 unless providing or displaying an exhibit electronically is impractical or restricted under

 the protective order. For the sake of clarity, any witness, counsel, staff, and the Court may

 each have his or her own set of physical exhibits. However, physical exhibits will not be

 passed to the jury absent approval by the Court.

     6.          Lunch For Jurors

          At the Court’s expense, lunch be brought in for all jurors daily in individual boxes

 or containers with disposable utensils to avoid unnecessary exposure to those outside the

 Courthouse during lunchtime. Jurors be instructed to increase social distancing beyond 6

 feet during eating periods.




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    7.          Costs

         Costs for the above that are not borne by the Court will be borne by the parties in

equal amounts.




IT IS SO ORDERED.

SIGNED this 9th day of February, 2021.



                                                     ________________________________
                                                     ALAN D ALBRIGHT
                                                     UNITED STATES DISTRICT JUDGE




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